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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE



                                     WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL for the Western District of Tennessee:

       You are hereby commanded to take from the property of:
James Goodman
_____________________________________________________________________________________
(Judgment Debtor)



Including the property listed below, the sum of:
729,948.97
_____________________________________________________________________________________
       (Enter Balance of Judgment corresponding to last line in Application for Writ of Execution)

to satisfy a judgment obtained by the judgment creditor in the United States District
                    Western                                 Tennessee
Court for the _____________________ District of _______________________, and also the

costs that may accrue under this writ.

       You are further commanded to pay such monies, when collected, into this Court

and you shall make return as to how you have executed this writ within the time

allowed by law.

Description of Property:
Any funds in Bank of America held for James Goodman
____________________________________________________________________________________
103 Tomahawk Trail, San Antonio, TX 78232 including
____________________________________________________________________________________
but not limited to Account # 026009593
____________________________________________________________________________________

____________________________________________________________________________________


                                       CLERK, U.S. DISTRICT COURT
                                       WESTERN DISTRICT OF TENNESSEE
                                       167 N. MAIN, STE 242
                                       MEMPHIS, TN 38103

                                       ________________________________________________
                                                         Deputy Clerk

                                       Date Issued: ______________________________________

                                                                                                 FORM 2
